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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 JASON HERMAN,
 WILLIAM COHEN,
 JOEY KRATT, and
 CHRISTINA
 LANCASTER,
 as individuals and on behalf of
 all others similarly situated,
                                                               Case No. 8:14-cv-03028-MSS-EAJ

          Plaintiff,

     v.

 SEAWORLD PARKS &
 ENTERTAINMENT, INC.,

       Defendant.
 _______________________________ /

                PLAINTIFFS’RESPONSE IN OPPOSITION TO DEFENDANT’S
                  MOTION TO COMPEL PRODUCTION OF DOCUMENTS

          Plaintiffs, Jason Herman, Joey Kratt, William Cohen, and Christina Lancaster

 (collectively, “Plaintiffs”), respond as follows to Defendant, SeaWorld Parks & Entertainment,

 Inc.’s (“SeaWorld”) Motion to Compel Production of Documents (“Motion to Compel”) (Dkt.

 101).1



 1
     SeaWorld’s Motion to Compel fails to comply with Local Rule 3.04(a), which states:

                  A motion to compel discovery pursuant to Rule 36 or Rule 37,
                  Fed.R.Civ.P., shall include quotation in full of each interrogatory,
                  question on deposition, request for admission, or request for
                  production to which the motion is addressed; each of which shall be
                  followed immediately by quotation in full of the objection and
                  grounds therefor as stated by the opposing party; or the answer or
                  response which is asserted to be insufficient, immediately followed
                  by a statement of the reason the motion should be granted. The
                  opposing party shall then respond as required by Rule 3.01(b).
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 I.     INTRODUCTION

        This action is not about the Plaintiffs and their contracts with NetFlix, AT&T, Verizon, the

 Elks, Dish Network, or any other non-party referenced in SeaWorld’s Motion to Compel. Rather,

 the predominant, common question underlying the Plaintiffs’ and putative Class members’ claims

 is: what is the proper interpretation of SeaWorld’s one-year EZ Pay Contract language, including

 the following automatic renewal provision: “EXCEPT FOR ANY PASSES PAID IN LESS

 THAN 12 MONTHS, THIS CONTRACT WILL RENEW AUTOMATICALLY ON A MONTH-

 TO-MONTH BASIS FOLLOWING THE PAYMENT PERIOD until I terminate it”? (Hereinafter

 referred to as the “Qualification Language”). SeaWorld concedes in its Motion to Compel that

 this is the predominant issue by stating “[t]he core dispute of this case is the meaning of

 SeaWorld’s EZpay contract and whether SeaWorld breached the contract when it automatically

 renewed Plaintiffs’ annual passes under the contract.” See Motion to Compel at p. 8 (Dkt. 101).

 (Emphasis added). SeaWorld’s request for discovery of non-party contracts constitutes a fishing

 expedition into interpretations of irrelevant contracts made between Plaintiffs and various non-

 parties. This discovery is unnecessary and its relevance (or lack thereof) is not proportional to the

 needs of the case.

 II.    ARGUMENT

        A.      Standard

        Motions to compel discovery are committed to the sound discretion of the trial court. See

 Commercial Union Ins. Co. v. Westrope, 730 F.2d 729, 731 (11th Cir. 1984). “Parties may obtain

 discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

 proportional to the needs of the case, considering the importance of the issues at stake in the action,

 the amount in controversy, the parties’ relative access to relevant information, the parties’



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 resources, the importance of the discovery in resolving the issues, and whether the burden or

 expense of the proposed discovery outweighs its likely benefit.” Fed.R.Civ.P. 26(b)(1); see also

 Douglas v. Kohl’s Dept. Stores, Inc., Case No. 6:15-cv-1185, 2016 WL 1637277, at *1 (M.D. Fla.

 April 25, 2016).

        “Relevancy is determined based on the ‘tendency to make a fact more or less probable than

 it would be without the evidence, and the fact is of consequence in determining the action.’ Fed.

 R. Evid. 401.” Hankinson v. R.T.G. Furniture Corp., No. 15-81139-civ-Cohn/Seltzer, 2016 WL

 1182768, at *1 (S.D. Fla. Mar. 28, 2016) (quoting Garcia v. Padilla, No. 2:15-cv-735-FtM-29CM,

 2016 WL 881143, at *2 (M.D. Fla. Mar. 8, 2016)). “Proportionality requires counsel and the court

 to consider whether relevant information is discoverable in view of the needs of the case. In

 making this determination, the court is guided by the non-exclusive list of factors in Rule

 26(b)(1).” American Humanist Ass’n, Inc. v. City of Ocala, Case No: 5:14-cv-651-Oc-32PRL,

 2016 WL 2783719, at *2 (M.D. Fla. May 13, 2016) (citing Graham & Co., LLC v. Liberty Mut.

 Fire Ins. Co., No. 2:14-cv-2148-JHH, 2016 WL 1319697, at *3 (N.D. Ala. April 5, 2016)). “‘Any

 application of the proportionality factors must start with the actual claims and defenses in the case,

 and a consideration of how and to what degree the requested discovery bears on those claims and

 defenses.’” American Humanist Ass’n, 2016 WL 2783719, at *2 (quoting Graham & Co., LLC,

 2016 WL 1319697, at *3; Witt v. GC Servs. Ltd. P'ship, 307 F.R.D. 554, 569 (D. Colo. 2014)).

        B.      Contracts Between the Plaintiffs and any Non-Party are Irrelevant

        Although Plaintiffs have entered into contracts with various non-parties, none of these

 contracts are at issue in this case. In this case, relevancy rests with the transaction between the

 parties to the contract (here, Plaintiffs and SeaWorld) and not the contractual arrangements

 between one of the Plaintiffs and a non-party on an unrelated subject matter. SeaWorld argues



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 that such contracts are discoverable, but cites to no analogous legal authority authorizing such

 disclosure. No principle of judicial economy or fairness mandates permitting discovery on matters

 that have absolutely no bearing on the pending action. Courts addressing disclosure of unrelated,

 non-party contracts have found such documents to be irrelevant and not discoverable.

         The decision in World Wrestling Federation v. William Morris Agency, Inc., 204 F.R.D.

 263 (S.D. N.Y. 2001) is instructive. In World Wrestling Federation, the plaintiff sued its

 advertising agency for breach of contract. Id. at 264-65. In discovery, the plaintiff sought

 documents relating to how the advertising agency dealt with its other clients, including contracts

 between the advertising agency and non-parties. Id. In response, the defendant raised relevancy

 as its primary objection. Id. The plaintiff then filed a motion to compel that was denied by the

 magistrate judge. The district court judge affirmed the ruling and cited to the following comments

 made by the magistrate judge:

                Ordinarily, what is relevant in a breach of contract claim is the
                transaction between the parties to the contract. Ordinarily,
                contractual agreements between one of the contracting parties and
                third parties is irrelevant. I appreciate that the standard of relevancy
                for discovery purposes is not – is looser than the standard at trial.
                Nevertheless, though, there has to be – the relevance standard for
                discovery is not unlimited.

 Id. at 265.

         As in World Wrestling Federation, the present case involves a breach of contract action

 between Plaintiffs and SeaWorld. As SeaWorld’s Motion to Compel concedes, the predominant,

 common question in this case is the proper meaning of the language used in the EZ Pay Contract.

 Accordingly, information pertaining to contractual arrangements between Plaintiffs and various

 non-parties is wholly irrelevant. In other words, the requested discovery would not tend to prove

 or disprove an issue in this case.



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        In the context of a motion to compel discovery, the court in United States v. Kellogg Brown

 & Root Root Servs., Inc., 284 F.R.D. 22 (D.D.C. 2012) similarly addressed the relevance of

 contracts between one party and non-parties to the case. Like the argument advanced by SeaWorld

 in the present case, the defendant in Kellogg Brown argued that:

                “it needs documents relating to [other] contracts because they are
                relevant to the [plaintiff’s] interpretation of the contractual
                provisions at issue here … [defendant] is entitled to know whether
                there are instances in which [the plaintiff] interprets the same or
                similar contractual language differently than its current
                interpretation of the relevant [contract] provisions.”

 Id. at 37. In denying the motion, the court emphasized, “[t]hese contracts were made between

 different contracting officers and different private contractors, at different times for different

 purposes.” Id. at 38. The court further reasoned that “[the defendant] has not explained how the

 contracts are sufficiently similar to make [the plaintiff’s] interpretation of one binding on the

 other.” Id. Likewise, in this case, SeaWorld has not explained how the non-party contract

 language is sufficiently similar to SeaWorld’s EZ Pay Contract, and how these non-party contracts

 would make Plaintiffs’ interpretation of the non-party contracts binding on Plaintiffs’

 interpretation of the Qualification Language in SeaWorld’s Contract.

        In University City v. Home Fire & Marine Ins. Co., 114 F.2d 288 (8th Cir. 1940) the Eighth

 Circuit Court of Appeals held that evidence of contracts with other parties are irrelevant and not

 admissible to prove the terms of a separate contract. In doing so, the Court stated:

                Generally, the rule is as follows: ‘Evidence of other agreements than
                the one involved in the particular issue is as a general rule
                inadmissible, unless the contract in suit was made with reference
                thereto, or forms a part thereof, or unless it forms a relevant part of
                the circumstances leading up to and surrounding such contract, or
                has been referred to fix the terms of the contract in suit, or tends to
                show the presence or absence of a consideration, or that the contract
                in issue was not made. Neither is evidence of a similar contract
                previously made admissible to prove the terms of the contract in

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                suit; and evidence of subsequent contracts with other parties is
                irrelevant. So, where the contract in question supersedes another, the
                original contract is properly excluded. * * * evidence as to the usual
                terms of contracts such as the one in issue is inadmissible in the
                absence of any showing that the parties contracted with reference to
                such terms. * * * Transactions with a third person are not admissible
                to prove the terms of a contract.’

 Id. at 294.

         In addition to the authority cited above, numerous courts have either denied motions to

 compel or held that evidence of other contracts is inadmissible because the contracts were

 irrelevant. See, e.g., Sokn v. Fieldcrest Cmty. Unit School District, Case No. 10-1122, 2013 WL

 84702, at *5 (C.D. Ill. Jan. 7, 2013) (denying motion to compel production of contracts other than

 the contract at issue, reasoning the other contracts were not relevant and thus not discoverable);

 Freeman v. Witco Corporation, Case No. 97-cv-1448, 1999 WL 389892 (E.D. La. June 11, 1999)

 (denying motion to compel filed by plaintiff seeking other contracts because other contracts are

 irrelevant as “it is the contract between [plaintiff] and [defendant] which controls here”); Rushing

 v. Wells Fargo Bank, N.A., Case No. 8:10-cv-1572, 2012 WL 3155790, at * 2 (M.D. Fla. Aug. 3,

 2012) (reasoning in dicta that evidence of other contracts “would not normally be relevant”); So.

 Cal. Gas Co. v. City of Alhambra, Case No. 10-cv-8635, 2011 WL 4389655, at * 3 (C.D. Cal. June

 6, 2011) (holding that evidence of plaintiff’s agreements with non-parties would not establish

 intent because plaintiffs’ “conduct in its performance of other contracts is irrelevant”); Herlihy

 Mid-Continent Co. v. Northern Indiana Public Service Co., 245 F.2d 440 (7th Cir. 1957)

         None of the non-party agreements that SeaWorld seeks has any bearing whatsoever on the

 subject EZ Pay Contract. For that reason, SeaWorld’s Motion to Compel should be denied.




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        C.      California Law Does Not Support SeaWorld’s Position

        SeaWorld argues, without analogous supporting authority, that it is entitled to review the

 non-party contracts because the contracts may share similarities to the EZ Pay Contract and

 California law allows the Court to review extrinsic evidence. However, as explained below, the

 standardized form contract drafted by SeaWorld must be interpreted objectively under California

 law. SeaWorld’s argument does not explain how non-party contracts relate to the objective

 intentions of the parties at the time the contract was executed, nor could this be explained.2 Simply

 put, contracts involving non-parties would not and could not assist this Court or a jury in

 interpreting the parties’ objective intentions with respect to the EZ Pay Contract.

        SeaWorld argues that “[t]he shortest path to granting this motion runs through California

 law … because of California’s hospitability to extrinsic evidence.” Motion to Compel at pp. 8,

 10. SeaWorld overstates California’s rule on extrinsic evidence. First, California courts follow

 the long-standing legal principle that the determination of the existence or terms of an agreement

 is made by reference to the objective intent of the parties, not subjective intent. Second, California

 courts strictly construe any ambiguity in a form contract of adhesion – like the subject EZ Pay

 Contract – against the drafter, and not the consumer.




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   Assuming arguendo that the Court considers extrinsic evidence, the Court “can only consider
 extrinsic evidence that sheds light on the objective meaning of the language as it would have been
 understood by a reasonable contracting party.” Rodman v. Safeway, Inc., Case No. 11-cv-03003,
 2015 WL 604985, at * 7 (N.D. Cal. Feb. 12, 2015). Extrinsic evidence is also not relevant to the
 extent it is only probative of one party's subjective understanding of what it was promising. Id.
 (citing to Founding Members of the Newport Beach Country Club v. Newport Beach Country Club,
 Inc., 109 Cal.App. 4th 944, 956 (2003) (“The parties' undisclosed intent or understanding is
 irrelevant to contract interpretation.”).
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                1.      California, like Florida, Virginia and Texas, follows the Principle that
                        Contracts are Interpreted Pursuant to an Objective Standard and not
                        the Parties’ Subjective State of Mind

        Under California law, the determination of the existence or terms of an agreement is made

 by reference to the objective intent of the parties. United Commercial Ins. Serv., Inc. v. Paymaster

 Corp., 962 F.2d 853, 866 (9th Cir. 1992). Objective intent is “the intent manifested in the

 agreement and by surrounding conduct, rather than the subjective beliefs of the parties. For this

 reason, the true intent of the party is irrelevant if it is unexpressed.” Id.3 In other words, the

 parties’ “outward manifestation or expression of assent is controlling.” Binder v. Aetna Life Ins.

 Co., 89 Cal. Rpter.2d 540 (1999).

        SeaWorld argues that California law would permit disclosure of other contracts by citing

 generally to Meridian Project Sys., Inc. v. Hardin Const. Co., LLC, 426 F. Supp. 2d 1101 (E.D.

 Cal. 2006) and Lary v. Boston Sci. Corp., No. 1:11-cv-23820, 2014 WL 978823 (S.D. Fla. Mar.

 13, 2014). Both cases are inapposite. Meridian is a case involving copyright issues between

 businesses – a software company and a construction company, and Lary involved a heavily

 negotiated intellectual property contract, rather than a standardized form contract like what

 SeaWorld used here. Rodman v. Safeway, Inc., Case No. 11-cv-03003, 2014 WL 988992 (N.D.

 Cal. Mar. 10, 2014) discusses how a court following California law addresses extrinsic evidence

 in a consumer class action involving a standardized form contract.

        In Rodman, the plaintiff moved to certify a nationwide breach of contract class action

 against Safeway for breaching the terms of the parties’ form agreement by charging higher prices



 3
  See also Beck v. American Health Group Int’l, 260 Cal. Rptr. 237, 242 (1999); Union Bank v.
 Winnebago Indus., 528 F.2d 95, 99 (9th Cir. 1975); Bryant v. Amtrak, Case No. 08-cv-458, 2011
 WL 291233, at *3 (S.D. Cal. Jan. 26, 2011); Campbell v. Geithner, Case No. 10-cv-058761, 2011
 WL 6032957, at * 2 (N.D. Cal. Dec. 5, 2011); Kelley v. Euromarket Designs, Inc., Case No. 07-
 cv-0232, 2008 WL 109332, at *3 (E.D. Cal. Jan. 8, 2008)
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 for groceries on its online delivery service than it charged in the stores where the groceries were

 purchased. Id. at 5. The plaintiff argued that the court “can determine the parties’ rights and

 obligations from the objective language of the [contract].” Id. Just like SeaWorld in this case,

 Safeway advanced a contrary contractual interpretation, arguing that the “meaning of the form

 contract varies from customer to customer, and turns on each customer’s subjective understanding

 of the contractual terms.” Id. at 6. Importantly, the court stated:

                The resolution of this dispute over the meaning of the [contract] is
                far more likely to hinge on the objectively reasonable interpretation
                of the contractual language rather than the interrogation of each
                individual class member’s personal understanding of these words.
                “California recognizes the objective theory of contracts, under
                which it is the objective intent, as evidenced by the words of the
                contract, rather than the subjective intent of one of the parties, that
                controls interpretation …[t]he parties’ undisclosed intent or
                understanding is irrelevant to contract interpretation.”

 Id. at 7 (quoting Founding Members of the Newport Beach Country Club v. Newport Beach

 Country Club, Inc., 109 Cal. App. 4th 944, 956 (2003)).

        In its analysis, the Rodman court also emphasized California’s “preference for interpreting

 form contracts against the drafter.” Id. at *8 (this issue is addressed in more detail below). The

 court then stated:

                [I]n a standardized contract “a writing is interpreted wherever
                reasonable as treating alike all those similarly situated, without
                regard to their knowledge or understanding of the standard terms
                of the writing”. . . . For all of these reasons, the Court considers it
                likely that the meaning of the contract will be determined by the
                objective meaning of the [contract], without resort to extrinsic
                evidence. But even the need to take into account extrinsic evidence
                should not defeat certification, provided that the extrinsic evidence
                is common evidence. If the Court does need to consider extrinsic
                evidence (to determine whether the language is ambiguous or to
                resolve any identified ambiguity), extrinsic evidence about the
                reasonable objective meaning of these words can be considered
                without endangering predominance. But the Court is very unlikely
                to take into account extrinsic evidence for the purpose of

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                 concluding that for some customer (unlike others), the meaning
                 of the parties’ mutual agreement was to promise price parity with
                 a specific particular store that was envisioned by the particular
                 customer who registered.

  Id. (emphasis added). In other words, in the context of a standardized form contract, California

  courts do not consider extrinsic evidence to make individualized determinations that the form

  language subjectively meant one thing to some class members and another thing to others. This is

  exactly what SeaWorld advocates (“[t]he third-party agreements SeaWorld seeks are discoverable

  because Plaintiffs’ experiences with, and understandings of, other agreements similar to the EZpay

  contract are relevant to their understanding of the EZ Pay contract”). Motion to Compel at p. 9.4

         The Rodman court then went on to rule:

                 The Court does not yet reach the question of how the alleged
                 contract should be interpreted, but it can determine after rigorous
                 analysis that there is no obstacle to commonality or predominance.
                 The scope and proper interpretation of the objective words of the
                 parties’ agreement is a common question that applies commonly
                 to all members of the class, is an issue whose resolution will drive
                 resolution of the litigation, and will predominate over any
                 individualized issues.

  Id. at *9. (Emphasis added).

         Here, SeaWorld’s EZ Pay Contract specifically indicates that the parties’ mutual assent is

  limited to the terms of that agreement. See Dkt. 78-2 (Exhibit A) (“I ACCEPT THE TERMS OF



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    Like SeaWorld, the defendant in Rodman argued that individualized issues predominate because
  “certain customers learned of the additional charges and continued to shop with Safeway.com after
  so learning.” Id. In addressing Safeway’s argument, the Rodman court stated “[i]f Defendant is
  arguing that predominance automatically fails if there is any possibility that any Class Members
  might have consented to the terms of a contract, it would be arguing that no class action could ever
  be maintained for breach of a form contract.” Id. at 10. (Emphasis in original). The court then
  stated “[h]ere, there is no reason to suspect that it is likely that a predominant number of Class
  Members might have knowingly and willingly chosen to pay an additional fees that they were
  under no obligation to pay under the terms of the contract.” Id. In Rodman, Plaintiff’s nationwide
  class for breach of contract was certified.

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  THIS AGREEMENT. I ACKNOWLEDGE RECEIPT OF A COPY OF THIS DOCUMENT.”)

  (emphasis added). This language was drafted by SeaWorld, the party that now argues that extrinsic

  evidence must be introduced to establish the varying subjective intents of Plaintiffs and the class

  members. This is inconsistent with fundamental principles of contract interpretation in California,

  Florida, Virginia and Texas. Plaintiffs and the putative class members entered into the same form

  EZ Pay Contract which contains terms that have an objective and plain meaning. Thus, the

  subjective state of mind of the parties is irrelevant and extrinsic evidence does not alter this legal

  principal. As previously mentioned, SeaWorld has conceded that the predominant, common

  question in this case is the meaning of the EZ Pay Contract. Accordingly, the Court’s primary task

  is to construe the terms of the EZ Pay Contract as written, and contracts between Plaintiffs and

  unrelated non-parties do not assist in that process.

                 2.      California Law Strictly Construes any Ambiguity in a Contract of
                         Adhesion Against the Drafter

         The EZ Pay Contract is undisputedly a standardized form contract. It is also a contract of

  adhesion and, as such, must be interpreted against SeaWorld as its drafter. In Neal v. State Farm

  Ins. Cos., 10 Cal. Rptr. 781 (Cal. Dist. Ct. App. 1961) the California District Court of Appeal

  provided a definition for an “adhesion contract”: “[t]he term adhesion contract signifies a

  standardized contract, which, imposed and drafted by the party of superior bargaining strength,

  relegates to the subscribing party only the opportunity to adhere to the contract or reject it.”

  Ultimately, the Neal court determined that for adhesion contracts, any ambiguities in the drafted

  terms must be interpreted against the drafting party.5 California’s Supreme Court has adopted the

  Neal court’s definition for an “adhesion contract.” See Graham v. Scissor-Tail, Inc., 171 Cal. Rptr.



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    Id. at 784 (finding that although in contracts of adhesion ambiguities should be interpreted against
  the drafting party, in the case at bar no ambiguities existed in the disputed contract).
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  604 (1981) (noting that “the rule requiring the resolution of ambiguities against the drafting party

  applies with peculiar force in the case of a contract of adhesion.”).

         In Tahoe Nat’l Bank v. Phillips, 4 Cal. 3d 11 (1971), the California Supreme Court

  discussed the preference for interpreting form contracts against the drafter:

                 Since the alleged ambiguities appear in a standardized contract,
                 drafted and selected by the bank, which occupies the superior
                 bargaining position, those ambiguities must be interpreted against
                 the bank. The rule of resolving ambiguities against the drafter ‘does
                 not serve as a mere tie-breaker; it rests upon fundamental
                 considerations of policy.’ (Steven v. Fidelity & Casualty Co. (1962)
                 58 Cal.2d 862, 871, 27 Cal.Rptr. 172, 178, 377 P.2d 284, 290.) Thus,
                 in determining whether an instrument is reasonably susceptible to
                 an interpretation suggested by the extrinsic evidence, one factor for
                 consideration by the court is whether that interpretation would do
                 violence to the principles of construing documents against the
                 party who drafts and selects them. In the present case, we
                 conclude that to permit a creditor to choose an allegedly
                 ambiguous form of agreement, and then by extrinsic evidence seek
                 to give it the effect of a different and unambiguous form, would be
                 to disregard totally the rules respecting interpretation of adhesion
                 contracts, and to create an extreme danger of over-reaching on the
                 part of creditors with superior bargaining positions. The bank must
                 bear the responsibility for the creation and use of the assignment it
                 now claims is ambiguous; it is only ‘poetic justice’ (CEB, s 2.38) if
                 such ambiguity is construed in favor of the borrower.

  Id. at 20. (Emphasis added).

         SeaWorld’s EZ Pay Contract is an adhesion contract under California law because it is a

  standardized form contract, drafted by SeaWorld – a party of superior bargaining strength – and it

  relegates to the consumer only the opportunity to adhere to the contract or reject it. SeaWorld’s

  corporate representative, Michelle Scott, confirmed this fact at her deposition:

                 Q. Okay. Now, would you agree that the SeaWorld one-year EZ Pay contracts are
                 standardized forms?
                 A. Yes.
                 Q. So the SeaWorld EZpay customer can take it or leave it?




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                   A. They do not have a way to change the contract wording, no.6

           Under California law, even if SeaWorld could establish some ambiguity in the EZ Pay

  Contract and even if that extrinsic evidence was available, the extrinsic evidence would be

  unhelpful (and therefore not proportional) because the ambiguous contract terms would be

  interpreted against SeaWorld. Thus, if ambiguity even became an issue, SeaWorld could not

  demonstrate, that extrinsic evidence of ambiguity would affect its liability for breach of contract.

  See Ewert v. Ebay, Inc., Case No. c-07-02198, 2010 WL 4269259, at *7 (N.D. Cal. Oct. 25, 2010);

  See also Vedachalam v. Tata Consultancy Servs., Ltd., Case No. 06-cv-0963, 2012 WL 1110004,

  at *9 (N.D. Cal. Apr. 2, 2012), leave to appeal denied (June 13, 2012 (applying Tahoe Nat’l Bank)).

                   3.      SeaWorld Misrepresents to the Court Mr. Herman’s Deposition
                           Testimony Regarding Ambiguity

           In the Motion to Compel, SeaWorld argues that extrinsic evidence should be discoverable,

  inter alia, because Plaintiff, Jason Herman, admitted that the EZ Pay Contract is ambiguous in his

  deposition. See Motion to Compel at p. 9. That is false. To reach this conclusion, SeaWorld

  references Mr. Herman’s deposition transcript, page 54, lines 7 through 13. That testimony is as

  follows:

                   Q. Is it possible, Mr. Herman, that a customer like you who bought
                   an annual pass like yours that was paid for in 12 monthly payments
                   spread over 12 months would have believed that their contract
                   should auto renew under the language of this contract?

                   A. Is it possible?

                   Q. Yes.

  As indicated, it is SeaWorld’s counsel saying “Yes” to Mr. Herman’s request for clarification of

  the original question. The “Yes” that SeaWorld relies upon did not even come out of Mr. Herman’s



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      Michelle Scott Dep. 132:12-18. (Dkt. 93 Exhibit A).
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  mouth. Further, SeaWorld leaves out lines 14 through 22 immediately following the above-

  referenced testimony, in which Mr. Herman clearly stated that SeaWorld’s interpretation is

  unreasonable. The full testimony on this issue is as follows:

                 Q. Is it possible, Mr. Herman, that a customer like you who bought
                 an annual pass like yours that was paid for in 12 monthly payments
                 spread over 12 months would have believed that their contract
                 should auto renew under the language of this contract?
                 A. Is it possible?

                 Q. Yes.

                 MR. HASANBASIC. Object to form on that one.

                 THE WITNESS. I mean, I guess anything is possible.

                 BY MR. DEIHL.
                 Q. Go ahead.

                 A. I mean, I don’t -- I don’t think that’s -- I don’t think that’s a
                 reasonable view of looking at this. And when I got the confirming
                 e-mail, it also said just be 12 payments.

  See Response, Carroll Decl. Ex. 8 (Herman Dep.) 54:7-22 (emphasis added). As Mr. Herman

  recognized, it is always possible that someone could interpret the EZ Pay Contract, or any

  document for that matter, in an unreasonable way. An unreasonable interpretation, however, does

  not create ambiguity. See, e.g., Silvin v. Geico General Ins. Co., 517 Fed.Appx. 781, 784 (11th

  Cir. 2013 (holding that “[b]ecause we find Silvin's suggested interpretation to be unreasonable, we

  also reject his argument that the policy language is ambiguous”).

         SeaWorld misrepresented the same testimony in its Response to Plaintiffs’ Motion for

  Class Certification. See Defendant’s Response to Motion for Class Certification at 20, n. 9 (Dkt.

  99). To be clear: Plaintiffs, including Mr. Herman, have always maintained that the EZ Pay

  Contract is unambiguous.      The Contract language is clear.       The wording of the subject




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  Qualification Language has a plain, objective meaning. The Contract can and should be interpreted

  within the four corners of the document.

     III.      CONCLUSION

            Contracts between Plaintiffs and unrelated non-parties are entirely irrelevant to this case.

  SeaWorld’s attempt to obtain such discovery in this case is not supported by California case law

  (or Florida, Texas and Virginia law). As SeaWorld itself suggests in the Motion to Compel, the

  predominant, common issue underlying the Plaintiffs’ and putative Class members’ claims is the

  proper interpretation of SeaWorld’s one-year EZ Pay Contract. The Court’s primary task is to

  construe the terms of the EZ Pay Contract objectively as written.              Accordingly, Plaintiffs

  respectfully request that this Court deny SeaWorld’s Motion to Compel.

                                    CERTIFICATE OF SERVICE

            I hereby certify that on May 16, 2016, I electronically filed the foregoing with the Clerk

   of Court by using the CM/ECF system which shall provide notice to all parties in this action.

                                                   Respectfully submitted by:


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